
The Chancellor.
At the time of the complainant’s judgment at law, and of the sheriff’s levy and sale, by virtue of the execution issued thereon, Groves, the defendant, had an equitable interest in the premises, by virtue of his contract with Gordon. He had no legal title. A mere equitable interest, though accompanied with possession, is not the subject of a levy and sale, by virtue of an execution at common law. The complainant acquired no lien upon Groves’ equitable interest, by virtue of his judgments, and no title to the premises by virtue of the sheriff’s deed. The bill must, therefore, be dismissed, with costs.
Decree accordingly.
Cited in Ketchum v. Johnson’s Ex. 3 Gr. ch, 377.
